                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                               WESTERN DIVISION
 UNITED STATES OF AMERICA,                         )
                                                   )
                               Plaintiff,          )
                                                   )
                      v.                           )      Case No. 4:18-00205-CR-RK-3
                                                   )
 JUSTIN DOMINIQUE DAVIS,                           )
                                                   )
                               Defendant.          )
                                             ORDER
       Pending before the Court is Defendant’s Motion to Dismiss Indictment. (Doc. 169.)
United States Magistrate Judge Lajuana M. Counts issued a Report and Recommendation denying
the Motion to Dismiss.      (Doc. 175.)     Defendant then filed objections to the Report and
Recommendation. (Doc. 210.)
       Pursuant to Federal Rule of Criminal Procedure 59(b)(3), “[a] district judge must consider
de novo any objection to the magistrate judge’s recommendation.” After an independent, de novo
review of Defendant’s original motion (Doc. 169), the record, and applicable law, the Court adopts
the Report and Recommendation of Judge Counts in its entirety.
       Accordingly, it is hereby ORDERED that Defendant’s Motion to Dismiss Indictment
(Doc. 169) is DENIED and the Report and Recommendation (Doc. 175) is ADOPTED.
       IT IS SO ORDERED.
                                                       s/ Roseann A. Ketchmark
                                                       ROSEANN A. KETCHMARK, JUDGE
                                                       UNITED STATES DISTRICT COURT

DATED: June 8, 2022




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